                             UNITED STATES    DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


MANUEL JESUS PINGUIL LOJA,
        Petitioner,

V.                                                  C.A.   No.   18-10579-MLW


STEVEN SOUZA AND THOMAS M.
HODGSON,
        Respondents.

                                            ORDER


WOLF,        D.J.                                                         June 11, 2018

        It is hereby ORDERED that:

        1.      By June 14, 2018, the parties shall confer concerning

the implications of the attached June 11, 2018 Memorandum and Order
in Calderon, C.A. No. 18-10225, and Junqueira, C.A. No. 18-10307,

among other things, and report the status of this case. The report
shall    state:      whether the parties have              reached an agreement           to

resolve the case or any issues in it; whether petitioner Manuel

Jesus Pinguil Loja has received notice of a custody review and/or
a    custody        review     under    8   C.F.R.     241.4;      and        any   material
circumstances         that     have    changed since       the May       4,    2018   status

report, including whether any decision has been made concerning
Pinguil's applications for withholding of removal or a U-visa.
        If the Department of Homeland Security ("DHS") has not given
Pinguil a custody review under §241.4 because it believes that
"the 90-day removal period has been extended" by his application
for withholding of removal or any other action. Reply Brief of
Respondents {Docket No. 27) at 7-8 & n.9, the report shall state

whether DHS has provided Pinguil with notice of "the        [alleged]

circumstances demonstrating his   []   failure   to   comply with the

requirements of [8 U.S.C. §1231(a)(1)(C)] and an explanation of

the necessary steps that [Pinguil] must take in order to comply

with the statutory requirements." 8 C.F.R. §241.4(g)(5)(ii). DHS

shall also identify the "statutory requirements," if any, with

which it asserts Pinguil is failing to comply.

     2.   If necessary, a hearing on the petition shall be held on

June 19, 2018, at 10:00 a.m.




                                       UNITED STATES DISTRICT JUDGE
